               IN THE UNITED STATES DISTRICT COURT FOR THE
                       MIDDLE DISTRICT OF TENNESSEE
                          NORTHEASTERN DIVISION

UNITED STATES OF AMERICA                        )
                                                )
                                                )
v.                                              )      Criminal No. 2:11-00002
                                                )      Judge Trauger
[8] JOY MARIE LEWIS                             )

                                       ORDER

      It is hereby ORDERED that the sentencing previously scheduled for October 5, 2012 is

RESET for Thursday, December 13, 2012, at 1:00 p.m.

      It is so ORDERED.

      ENTER this 4th day of September 2012.



                                                ________________________________
                                                      ALETA A. TRAUGER
                                                        U.S. District Judge




Case 2:11-cr-00002     Document 1181       Filed 09/04/12    Page 1 of 1 PageID #: 2997
